                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT WINCHESTER

UNITED STATES OF AMERICA                      )       MATTICE/CARTER
                                              )
        v.                                    )       CASE NO. 4:09-CR-49
                                              )
JOE WALKER                                    )




                             REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on February 4,

2010. At the hearing, defendant entered a plea of guilty to the lesser included offense in Count

One of the Indictment, conspiracy to manufacture, distribute, and possess with the intent to

distribute five grams or more methamphetamine in violation of 21 U.S.C. §§ 846 and

841(b)(1)(B), in exchange for the undertakings made by the government in the written plea

agreement. On the basis of the record made at the hearing, I find that the defendant is fully

capable and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a

sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to the lesser included offense in

Count One of the Indictment, conspiracy to manufacture, distribute, and possess with the intent

to distribute five grams or more methamphetamine in violation of 21 U.S.C. §§ 846 and

841(b)(1)(B) be accepted, that the Court adjudicate defendant guilty of the charges set forth in

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the lesser included offense in Count One of the Indictment, conspiracy to manufacture, distribute,

and possess with the intent to distribute five grams or more methamphetamine in violation of 21

U.S.C. §§ 846 and 841(b)(1)(B), and that the written plea agreement be accepted at the time of

sentencing. I further recommend that defendant remain in custody until sentencing in this matter.

Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of

sentence are specifically reserved for the district judge.

       The defendant’s sentencing date is scheduled for Monday, May 10, 2010, at 9:00 am.



       Dated: February 4, 2010                         s/William B. Mitchell Carter
                                                       UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than fourteen days after the plea
hearing. Failure to file objections within fourteen days constitutes a waiver of any further right to
challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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